                                  NO. 22-13539
                                          In The

  United States Court Of Appeals
              For The Eleventh Circuit
                PHILIPPE CALDERON, ANCIZAR MARIN,
            on behalf of themselves and all others similarly situated,
                                                               Plaintiffs – Appellants,

                          KELLI BOREL RIEDMILLER,
                                                               Interested Party – Appellant,

                                              v.

                              SIXT RENT A CAR, LLC,
                                                               Defendant – Appellee.
 ON APPEAL FROM THE SOUTHERN DISTRICT OF FLORIDA DISTRICT COURT CASE NO.: 19-CV-62408-AHS
                                      ____________

                              BRIEF OF APPELLANTS
                                   ____________
Janet R. Varnell, FBN: 0071072
Brian W. Warwick, FBN: 0605573
Matthew T. Peterson, FBN: 1020720
Erika R. Willis, FBN: 100021
VARNELL & WARWICK, P.A.
1101 E. Cumberland Ave.
Ste. 201H, #105
Tampa, FL 33602
Telephone: (352) 753-8600
Facsimile: (352) 504-3301
jvarnell@vandwlaw.com
bwarwick@vandwlaw.com
mpeterson@vandwlaw.com
ewillis@vandwlaw.com

Counsel for Appellants
                           GibsonMoore Appellate Services, LLC
               206 East Cary Street ♦ P.O. Box 1406 (23218) ♦ Richmond, VA 23219
                             (804) 249-7770 ♦ www.gibsonmoore.net
          APPELLANTS' CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

         In compliance with Local Rule 26.1-1, the undersigned certifies:

         The following is a complete list of the trial judges, all attorneys, person,

associations of persons, firms, partnerships, or corporations that have an interest in

the outcome of the particular case or appeal, including subsidiaries, conglomerates,

affiliates and parent corporations, including any publicly held corporations that owns

10% or more of the party's stock and other identifiable legal entities related to a

party:

         Bentley, Rachel A.

         Borel Reidmiller, Kelli

         Calamusa, Steven G.

         Calderon, Philippe

         Emery, Patrick M.

         FisherBroyles, LLP

         Gordon & Doner, P.A.

         Lavender Hoffman Alderman, LLC

         Marin, Ancizar

         Oria, Irene

         Peterson, Matthew T.

         Singhal, Anuraag, U.S. District Judge for the Southern District of Florida

                                            i
      Sixt RentA Car, LLC

      Sixt SE (Xetra stock exchange ticker "SIX2")

      Sixt Transatlantik GmbH

      Stahl, Geoffrey S.

      Varnell & Warwick, P.A.

      Varnell, Janet R.

      Warwick, Brian W.

      Willis, Erika R.

      Pursuant to 11th Cir. R. 26.1-3(b), Defendant-Appellee Sixt's sole member is

Sixt Transatlantik GmbH, which is wholly owned by Sixt' s ultimate parent

company, Sixt SE, a German corporation the stock of which is publicly traded on

German Stock exchanges, including Xetra stock exchange (ticker "SIX2").

Dated: January 30, 2023                           /s/ Brian W. Warwick
                                                  Brian W. Warwick




                                        ii
              STATEMENT REGARDING ORAL ARGUMENT

      Appellants respectfully submit that oral argument is necessary to the just

resolution of this appeal and will enhance the Court’s decision-making process.




                                        iii
                                         TABLE OF CONTENTS

                                                                                                                  Page:

APPELLANTS' CERTIFICATE OF INTERESTED PERSONS
 AND CORPORATE DISCLOSURE STATEMENT ...............................................i

STATEMENT REGARDING ORAL ARGUMENT ............................................... iii

TABLE OF CONTENTS ..........................................................................................iv

TABLE OF AUTHORITIES .....................................................................................vi

STATEMENT OF JURISDICTION .......................................................................... 1

STATEMENT OF THE ISSUES ............................................................................... 2

INTRODUCTION ..................................................................................................... 3

STATEMENT OF CASE AND FACTS ................................................................... 5

         A.       Introduction of the Class Action Claims ............................................... 5

         B.       Facts Common to All Sixt Customers, including Plaintiffs .................. 5

         C.       The Plaintiffs’ Online Bookings, Rental Car Pick Up, and
                  Damages Paid Pursuant to the Incorporated Terms and
                  Conditions ........................................................................................... 11

                  1.       Plaintiff, Philippe Calderon ...................................................... 11

                  2.       Plaintiff, Ancizar Marin ............................................................ 13

                  3.       Plaintiff, Kelli Borel.................................................................. 14

         D.       The Trial Court’s Order....................................................................... 16

         STANDARD OF REVIEW ........................................................................... 18

SUMMARY OF THE ARGUMENT ....................................................................... 19

ARGUMENT ........................................................................................................... 21


                                                           iv
         I.       Whether the District Court Erred in Finding that Sixt’s Terms
                  and Conditions Could Not Be Enforced Against Sixt......................... 21

                  A.       Borel Received a Copy of the Rental Jacket............................. 22

                  B.       The District Court Failed to Consider the Intent of the
                           Parties ........................................................................................ 22

                  C.       Access to the Incorporated Document Is All that Is
                           Required .................................................................................... 29

         II.      Whether the District Court Erred in Finding That Plaintiffs Did
                  Not Suffer Actual Damages ................................................................ 32

                  A.       Plaintiffs Borel and Marin’s Damages...................................... 32

                  B.       Plaintiff Calderon’s Damages ................................................... 37

CONCLUSION ........................................................................................................ 39

CERTIFICATE OF COMPLIANCE ....................................................................... 40

CERTIFICATE OF FILING AND SERVICE ........................................................ 41




                                                            v
                                  TABLE OF AUTHORITIES

                                                                                                 Page(s):

Cases:

Adickes v. S.H. Kress & Co.,
      398 U.S. 144, 90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970) ................................ 18

Alta Wind I Owner Lessor C v. United States,
      150 Fed. Cl. 152 (Fed. Cl. 2020) ................................................................... 32

Anderson v. Liberty Lobby, Inc.,
     477 U.S. 242, 106 S. Ct. 2505 (1986) .....................................................18, 31

BGT Group, Inc. v. Tradewinds Engine Services, LLC,
     62 So. 3d 1192 (Fla. 4th DCA 2011).......................................................20, 29

Burkett v. Morales,
      128 Ariz. 417, 626 P.2d 147 (App. 1981) ..................................................... 27

Edwards v. Vemma Nutrition,
     2018 WL 637382 (D. Ariz. Jan. 30, 2018) ..............................................20, 29

Great Western Sugar Co. v. Northern Natural Gas Co.,
      661 P.2d 684 (Colo. App. 1982).................................................................... 26

Haun v. Don Mealy Imports, Inc.,
     285 F. Supp. 2d 1297 (M.D. Fla. 2003) ........................................................ 37

Hickson Corp. v. N. Crossarm Co.,
      357 F.3d 1256 (11th Cir. 2004) ..................................................................... 18

Higgs v. Costa Crociere S.P.A. Company,
      969 F.3d 1295 (11th Cir. 2020) .........................................................20, 33, 34

Hirsch v. Jupiter Golf Club LLC,
      232 F. Supp. 3d 1243 (S.D. Fla. 2017) .......................................................... 26

Jackson v. BellSouth Telecomms.,
      372 F.3d 1250 (11th Cir. 2004) ...............................................................18, 31


                                                     vi
Janes v. Baptist Hosp. of Miami, Inc.,
      349 So. 2d 672 (Fla. 3d DCA 1977) ........................................................20, 34

Jones v. TT of Longwood, Inc.,
      No. 6:06-cv-651, 2007 WL 2298020 (M.D. Fla. Aug. 7, 2007) ................... 37

Lane v. Urgitus,
      145 P.3d 672 (Colo. 2006) .......................................................................19, 23

Lazy Dog Ranch v. Telluray Ranch Corp.,
      965 P.2d 1229 (Colo. 1998) .....................................................................19, 23

Morrison v. Amway Corp.,
     323 F.3d 920 (11th Cir. 2003) ....................................................................... 18

Old Colony Trust Co. v. City of Omaha,
     230 U.S. 100, 33 S. Ct. 967, 57 L. Ed. 1410 (1913) ..................................... 26

Propeller Monticello v. Mollison,
     58 U.S. 152 (1854)......................................................................................... 34

Reed v. Royal Caribbean Cruises, Ltd.,
      2021 WL 1348489 (S.D. Fla. March 5, 2021)............................................... 36

Shandong Yongsheng Rubber Co. Ltd.,
     No. 18-cv-00867-, 2020 WL 1974762 (D. Colo. Apr. 24, 2020) ................. 34

Smith v. Owens,
      848 F.3d 975 (11th Cir. 2017) ....................................................................... 18

Sprint Communications Co., L.P. v. APCC Services, Inc.,
       554 U.S. 269 (2008)....................................................................................... 32

State v. Family Bank of Hallandale,
       623 So.2d 474 (Fla. 1993) .......................................................................19, 22

Tabler v. Industrial Com'n of Arizona,
      47 P.3d 1156, 202 Ariz. 518 (Ariz. App. Div. 1, 2002) .......................... 26-27

Taylor v. S. Pac. Transp. Co.,
      130 Ariz. 516, 637 P.2d 726 (1981) ........................................................ 34-35


                                                        vii
Treasure Salvors, Inc. v. Unidentified, Wrecked & Abandoned Sailing Vessel,
      556 F. Supp. 1319 (S.D. Fla. 1983) ............................................................... 26

U.S. v. American Tobacco Co.,
       166 U.S. 468 (1897)....................................................................................... 32

United Cal. Bank v. Prudential Ins. Co. of Am.,
      681 P.2d 390, 140 Ariz. 238 (Ariz. App. Div. 1, 1983) ..........................19, 23

Vernon v. Qwest Commc’ns Int’l., Inc.,
     857 F. Supp. 2d 1135 (D. Colo. 2012) ..............................................20, 29, 30

Weatherguard Roofing Co. v. D.R. Ward Constr. Co.,
     152 P.3d 1227 (Ariz. Ct. App. 2007) .......................................................20, 29

Statutes:

28 U.S.C. § 1291 ........................................................................................................ 1

28 U.S.C. § 1332(d) ................................................................................................... 1

28 U.S.C. § 1367 ........................................................................................................ 1

Other Authorities:

3 Corbin on Contracts, § 577 ................................................................................... 27

Restatement (Second) of Contracts (1981) § 202(4) ............................................... 26

Restatement (Second) of Torts, § 920A(1), cmt b ................................................... 35




                                                           viii
                       STATEMENT OF JURISDICTION

      The district court had subject matter jurisdiction over this action pursuant to

the Class Action Fairness Act, 28 U.S.C. § 1332(d), because there are at least 100

Class Members in the proposed Class, the combined claims of proposed Class

Members exceed $5,000,000, exclusive of interest and costs, and at least one Class

Member is a citizen of a state other than Defendant’s state of citizenship. The district

court also had supplemental jurisdiction over the state law claims alleged herein

pursuant to 28 U.S.C. § 1367. This Court has appellate jurisdiction over this appeal

under 28 U.S.C. § 1291 as the district court entered final judgment against

Appellants and in favor of Appellee. The district court entered Final Judgment on

October 3, 2022 (D.E. 234) and Appellants filed a timely Notice of Appeal on

October 20, 2022 (D.E. 235).




                                           1
                        STATEMENT OF THE ISSUES

I.    Whether the District Court Erred in Finding that Sixt’s Terms and

      Conditions Could Not Be Enforced Against Sixt.

II.   Whether the District Court Erred in Finding That Plaintiffs Did Not Suffer

      Actual Damages.




                                        2
                                 INTRODUCTION

      Plaintiffs/Appellants Phillipe Calderon, Ancizar Marin, and Kelli Borel

Reidmiller each rented a vehicle from Defendant/Appellee Sixt Rent A Car, LLC.

Several weeks after returning their vehicles, Sixt sent collection letters and invoices

to Plaintiffs seeking payment for damage to the vehicle that allegedly occurred while

in their possession. Contractual responsibility for paying the “cost of repair” is

placed upon the customer by Sixt’s Terms & Conditions (“T&C”). The T&C also

make the customer responsible for other costs incidental to the repair, including

“diminished value” and “loss of use.” (D.E. 222-2 at 4). The T&C also set forth

how such costs are to be calculated.

      After paying what they believed to be legitimate repair costs, Plaintiffs learned

that Sixt was not following its own T&C in the way it imposed repair charges on its

customers. For example, no repairs were ever actually made to Calderon or Borel’s

rental vehicles. (D.E. 151 at 4, 8-9, 12; Second Amended Complaint). Since there

was no actual repair, there is no “cost of repair” as required for customer

responsibility under the T&C. (Id.) Similarly, diminished value could not be

calculated according to the formula set forth in the T&C if repairs were never made.

As a result of Sixt’s failure to follow its own T&C in charging for repairs, Plaintiffs

filed suit for breach of contract and violation of the Florida Deceptive and Unfair




                                          3
Trade Practices Act (“FDUTPA”). Plaintiffs sought a refund of all repair payments

collected in violation of Sixt’s own T&C.

      Sixt filed a motion for summary judgment arguing that it could not be liable

for breaching its own T&C because they were not properly incorporated by

reference. Sixt made this argument despite billing Plaintiffs under those same T&C

and despite collecting money under those T&C. (D.E. 206 at 8-9, 11-16; Motion

Summary Judgment). Additionally, Sixt argued that judgment should be entered in

its favor because Plaintiffs suffered no damages because their repair invoices were

paid by insurance or by other third parties. (Id).

      The district court agreed and granted Summary Judgment for Sixt on all

claims. Instead of focusing on Sixt’s clear intent to be bound by its own T&C, and

despite the fact that Plaintiffs were not contesting incorporation of the T&C, the

district court found that because Plaintiffs could not remember receiving a physical

copy of the T&C when they picked up the vehicle, the T&C were not incorporated

by reference. (D.E. 233 at 5; Summary Judgment Order). The Court also agreed that

Plaintiffs suffered no actual damages because third-parties had paid Sixt for the

alleged repairs on their behalf. (D.E. 233 at 11; Summary Judgment Order).

      In the end, Sixt has been allowed to blatantly violate its own T&C and collect

and retain money under a contract it now says does not exist. For the reasons set

forth below, the district court’s summary judgment must be reversed.



                                          4
                     STATEMENT OF CASE AND FACTS

A.    Introduction of the Class Action Claims

      This case arose from Defendant Sixt’s business practice of imposing repair

charges upon its rental car customers that violated the terms of its own Rental

Agreement, which Sixt unilaterally drafted. Sixt’s Rental Agreement consists of two

documents, which together constitute the entire agreement: (1) the Face Page

Contract and (2) the Terms and Conditions (or “T&C”).

      In their operative pleading, the Plaintiffs were charged for repairs that were

never actually made. If there was no repair, Plaintiffs argued they could not be

responsible for the “cost of repair” as required to trigger responsibility under the

T&C. (D.E. 151 at 5, 9-10, 13; SAC). Plaintiffs also asserted that Sixt breached its

agreement by calculating “diminished value” as 25% of the estimated repair costs,

rather than under the formula Sixt set forth in the T&C. (D.E. 151 at 9, 13, 23-24).

B.    Facts Common to All Sixt Customers, including Plaintiffs.

      The “Face Page” part of Sixt’s agreement details each customer’s day-of,1

specific rental information, such as the actual vehicle being rented, the daily rate for

that vehicle, the number of days for which it is rented as well as any other amounts



1
 As discussed more infra, each Plaintiffs’ rental experience with Sixt began with a
website reservation in which Sixt required them to agree that the T&C made
available to them online, through a hyperlink or at Sixt’s website, would bind the
parties and, thus, govern the rental.

                                           5
charged, including optional insurance coverage such as a “Partial Damage Waiver”

or Loss Damage Waiver. In its printed form, the Face Page resembles a large grocery

store receipt.

      All other material terms of Sixt’s Rental Agreement with its customers are set

forth in its “Terms and Conditions” (“T&C”). Sixt designed its Face Page to

incorporate by reference its T&C through the following language:

      . . . By signing below, you agree to the Terms and Conditions printed
      on the Rental Jacket and to the terms found on this Face Page, which
      together constitute this Agreement. . .

(D.E. 151-1 at 1-7; Ex. A to SAC).

      The T&C printed in the “Rental Jacket” includes eight printed pages, with

sixteen sections establishing the vast majority of the material terms of the Rental

Agreement. For example, The T&C establish that the customer is “responsible for

the cost of repair” if the vehicle is damaged during the rental (D.E. 151-2 at 8; D.E.

222-2 at 4) and for paying “diminished value,” which is defined as “the difference

between the value of the vehicle immediately prior to damage or loss, and the value

of the Vehicle after repair or replacement.” (D.E. 151-2 at 7). The “Definitions”

section of the T&C defines “Loss Damage Waiver” and “Partial Damage Waiver”

both of which relate to Sixt’s agreement to “waive your responsibility for the portion

of the damage to or loss of the Vehicle that is stated on the Face Page.” (D.E. 151-2

at 7-10).



                                          6
      The “Rental Jacket” is a standard form, tri-fold printed pamphlet that Sixt

made available at all locations across the United States. (D.E. 151-2 at 2-12; Ex B

to SAC, Compilation of all Plaintiffs’ Rental Jackets). Sixt’s typical practice was to

make the Rental Jacket available to its customers by, among other ways, placing

them in pamphlet holders on the Sixt Kiosk where customers walked up and checked

in, having the Sixt employee review the Rental Jacket with the customer before

signing the Face Page Contract, and by using the Rental Jacket like an envelope by

placing the printed Face Page Contract with the customer’s signature into the tri-

fold, before both documents were handed over to the customer concurrently. (D.E.

222-5 at 12-18; Sixt’s Resp. to Calderon Request for Admission No. 13).

      However, Sixt also made the T&C available through its online booking

process and through links provided to its customers in reservation confirmation

emails:

      [F]or customers who booked and prepaid for their rentals through
      Sixt.com during the relevant time period, in order to book their rental,
      they were required to assent to the Terms and Conditions, which were
      presented to them and available to them via a hyperlink, by clicking a
      check box and a button indicating their acknowledgement and
      acceptance of the Terms and Conditions. Thus, customers who booked
      and prepaid through the Sixt website were provided access to the Terms
      and Conditions prior to signing the Face Page of a Rental Agreement.
      In addition, links to the Terms and Conditions were included in certain
      rental reservation confirmation emails.

(D.E. 222-5 at 12-18; Sixt Resp. to Calderon Request for Admission No. 13).




                                          7
      Sixt explained in its response to a Request for Admission that customers have

several options for accessing the T&C:

             [D]enied. Beginning more than five years prior to the filing of
      this action, customers have had access to the Rental Jacket’s terms prior
      to signing the Face Page of the Rental Agreement through multiple
      means.

             First, for customers who booked and prepaid for their rentals
      through Sixt.com during the relevant time period, in order to book their
      rental, they were required to assent to the Terms and Conditions, which
      were presented to them and available to them via a hyperlink, by
      clicking a check box and a button indicating their acknowledgement
      and acceptance of the Terms and Conditions. Thus, customers who
      booked and prepaid through the Sixt website were provided access to
      the Terms and Conditions prior to signing the Face Page of a Rental
      Agreement. In addition, links to the Terms and Conditions were
      included in certain rental reservation confirmation emails.

            Second, beginning in or about November 2019, when the Sixt
      website was redesigned, all customers booked through the Sixt website
      (whether they prepaid or not) were required to assent to the Terms and
      Conditions, which were presented to them and available to them via a
      hyperlink, by clicking a button indicating their acknowledgement and
      acceptance of the Terms and Conditions. Thus all customers who
      booked through the Sixt website since in or about November 2019 were
      provided access to the Terms and Conditions prior to signing the Face
      Page of a Rental Agreement.

            Third, all customers who visited the Sixt website during the
      relevant time period, in connection with booking a rental or otherwise,
      had access to the Terms and Conditions Rental Jacket because there
      was a hyperlink to the “Terms & Conditions” and/or “T & C” at the
      bottom or the side of the website and the Terms and Conditions Rental
      Jacket could be viewed or downloaded from the website. Thus,
      customers who visited the Sixt website were provided access to the
      Terms and Conditions Rental Jacket terms prior to signing the Face
      Page of a Rental Agreement.



                                         8
      Fourth, when Sixt members register for and/or log into the Sixt
website, they were presented with a hyperlink to the Terms and
Conditions Rental Jacket (“T & C”). Any members who did that were
provided access to the Terms and Conditions Rental Jacket prior to
signing the Face Page of a Rental Agreement.

       Fifth, during the time period relevant to this action, it has been
Sixt’s practice and procedure to have copies of the Terms and
Conditions Rental Jacket available for each customer’s review at the
rental kiosk and to provide each customer with a copy of the Terms and
Conditions Rental Jacket before they leave the rental kiosk. The timing
of when the customer physically received the Terms and Conditions
Rental Jacket depends on the rental. The customer may have asked the
Rental Sales Agent to see a copy of the Terms and Conditions Rental
Jacket, copies of the Terms and Conditions Rental Jacket may have
been on display or left on the counter of the rental kiosk, the customer
may have picked up a copy of the Terms and Conditions Renal Jacket
from the counter of the rental kiosk, the customer may have been
handed a copy of the Terms and Conditions Rental Jacket before or at
the time the customer signed the Face Page of the Rental Agreement,
among other possibilities, in which situations the customer received or
had access to the Terms and Conditions Rental Jacket at the rental kiosk
prior to signing Face Page of the Rental Agreement. In general, during
the old checkout process, it was the practice of Sixt agents to place
paper copies of the Face Page and a Terms and Conditions Rental
Jacket on the counter and review the terms of the rental agreement with
the customer before the customer signed the Face Page via an electronic
signature pad. Thus, customers were provided access to the Terms and
Conditions Rental Jacket at the rental kiosk prior to signing Face Page
of the Rental Agreement.

      In addition, customers frequently return to the rental kiosk after
they have received the Rental Jacket and signed the Face Page of a
Rental Agreement to make changes to their rental that result in the
generation of an amended Rental Agreement Face Page. For example,
the customer may choose to add options, insurance, or products, or
choose to change the length of the rental or to change the rental vehicle.
Or, a customer may notice pre-existing damage on the rental vehicle,
and the Face Page may be revised to note that damage. In such cases,
the customers physically receives the Terms and Conditions Rental

                                    9
      Jacket before agreeing to and signing the operative Fage Page of their
      Rental Agreement. The customer may not or may not be required to
      sign revised Rental Agreement if a toll package is added to the rental
      after leaving the rental location with the rental vehicle.

            Further, in or about August 2019, Sixt began rolling out to its
      corporate locations an electronic tablet touchscreen that customers use
      at the rental kiosk to review and sign the Face Page of the Rental
      Agreement and that includes a hyperlink to the Terms and Conditions
      Rental Jacket, which the customer may select and use to review the
      terms before signing the Face Page of the Rental Agreement. A
      customer cannot complete the checkout process without
      acknowledging and agreeing to the Face Page and the Terms and
      Conditions of the Rental Agreement by using their finger to select one
      or more checkboxes. . . .

             Sixth, customers who had a prior rental from Sixt had access to
      the Terms and Conditions Rental Jacket prior to signing the Face Page
      of the Rental Agreement through some or all of the foregoing means.
      At a minimum, customers who had a prior rental from Sixt would have
      been provided access to the Terms and Conditions Rental Jacket at the
      rental kiosk during their prior rental, which would have occurred prior
      to signing the Face Page of the Rental Agreement for the ensuing
      rental(s)

(D.E. 222-5 at 12-18; Sixt’s Resp. to Calderon’s Request for Admission No.
13).

      Plaintiffs cited Sixt’s this discovery admission in their Summary Judgement

Statement of Facts, and Sixt reaffirmed the many ways it provided its customers

“access to” its T&C: “Reply: Undisputed that the quoted discovery response

summarizes various means by which customers generally had “access to” the Terms

and Conditions based on Sixt’s routine procedures.” (D.E. 222 at 2, 4-5 and D.E.

227 at 30; Resp. SUMF and Reply SUMF).



                                        10
C.    The Plaintiffs’ Online Bookings, Rental Car Pick Up, and Damages Paid
      Pursuant to the Incorporated Terms and Conditions

      1.     Plaintiff, Philippe Calderon

      On March 23, 2016, Philippe Calderon (with assistance from his daughter),

made an online reservation through the www.Sixt.com website for an April 1, 2016,

rental at a Miami, Florida location. In its Reply to Plaintiffs’ Summary Judgment

Statement of Facts, Sixt admitted that Calderon was provided access to the T&C:

      Undisputed that Calderon’s rental was reserved online on March 23,
      2016, that his daughter made the reservation under his name, and that
      the user had to agree to the version of the Terms and Conditions Rental
      Jacket that was available on the website at that date as part of the
      reservation agreement.

(D.E. 207-1 at 21-22; 162, 164; Calderon Depo.).

      Sixt’s admission also states that “there is no evidence that Calderon ever saw

or clicked on the hyperlink[,]” and that:

      Calderon testified that, when he picked up the rental vehicle, he did not
      receive and was not told how to access the version of the Terms and
      Conditions Rental Jacket that was in circulation at the time and location
      of his rental before he electronically signed the Face Page. (D.E.207 at
      3; SUMF ¶ 20; D.E. 222 at 2; Resp. SUMF ¶ 20). . . . there is no
      evidence that Calderon asked to see a copy, picked up a copy, was
      handed a copy, or otherwise received (or was told how to access) the
      April 2016 version of the Terms and Conditions before he signed the
      Face Page. (D.E. 207-1 at 52-54).

      However, it is undisputed that Calderon also had access to the Rental Jacket

when taking possession of the rental car assigned to him:



                                            11
       Calderon “had access to” the March 2016 version of the Terms and
       Conditions when his daughter made his reservation online in his
       presence (D.E. 227 at 26-27; Reply SUMF ¶ 86), and that Calderon
       “had access to” a paper copy of the April 2016 Terms and Conditions
       when he picked up the rental vehicle in the sense that he could have
       asked to see a copy of the Terms and Conditions[.]

(D.E. 227 at 28-29; Reply SUMF)

       Calderon’s Face Page Contract shows that he paid $27 for a “Partial Damage

Waiver” (or PDW) fee defined and explained in the T&C. (D.E. 151-1 at 2-7; D.E.

207 at 3-4; D.E. 222 at 2; Face Pages attached to Complaint, Defendants SUMF and

Plaintiffs SUMF).

       After the rental, Sixt billed Calderon $1,131.65 for repair costs to the rental

vehicle and asserted that Calderon was liable for these costs pursuant to his “rental

contract” (D.E. 151 at 8-9):

       Plaintiff Calderon received a Collection Letter from Sixt dated January
       30, 2017 which was attached to the Invoice stated: “we are asserting
       out right to claim damage compensation from you as per the rental
       contract you agreed to.”

(D.E. 222-7 at 2).

       Ultimately, Sixt applied the $500 Partial Damage Waiver to the portion of the

damages for which Sixt personally invoiced Calderon as the responsible party. (D.E.

207 at 5, D.E. 222 at 2).




                                         12
         2.    Plaintiff, Ancizar Marin

         On February 27, 2019, Plaintiff, Ancizar Marin, used the www.oribtz.com

website to reserve a Sixt rental car, under his personal name, from a Phoenix,

Arizona location for the period of March 5, 2019 through March 8, 2019,

culminating with receipt of a confirmation email from Orbitz to Marin’s business

email address because Marin did not use personal email. (D.E. 207-6 at 13-16; Marin

Depo.) Although Marin could not recall whether he clicked the links (D.E. 207-6 at

17), it is undisputed that the Orbitz check out page, on the Orbitz website at the time

Marin secured his rental, included the following language and hyperlinks (noted in

blue):




(D.E. 207-6 at 133; Ex. 2 to Marin Depo.).

         Marin testified that the rental counter at the Phoenix, Arizona location was

like a “normal kiosk, like a bar”; however, he could not recall whether there were

any papers on the rental counter. (D.E. 207-6 at 18:20-19:10; Marin Depo.) While

Marin did not believe he was handed or shown any papers before signing with a

stylus on an electronic, black box (D.E. 207-6 at 20:5-27), he could not recall

whether he was handed any papers after signing. (D.E. 207-6 at 21:14-25, 24:3-5).

Regardless, it was undisputed in the summary judgment papers (D.E. 227) that:


                                          13
      Plaintiff Marin’s Collection Letter from Sixt dated June 5, 2019, which
      was attached to the Invoice, stated: “In accordance with your rental
      agreement, we kindly ask you to settle the outstanding amount
      disclosed in the attached breakdown ...” (D.E. 222-9 at 2).

      After the rental, Sixt sent Marin a collection letter seeking payment for repair

costs to the vehicle “pursuant to the rental agreement.” (D.E. 222-7 at 2). Both Sixt

and Marin submitted claims to Marin’s personal automobile insurance carrier,

AllState, which resulted in AllState submitting two (2) checks to Sixt for a total of

$519.00. (D.E. 207-6 at 51:19-59:4, 204-205, 209). Marin paid the remaining

$189.62 balance with his business credit card. (D.E. 207-6 at 59:11-60:8).

      Sixt never returned the money it obtained from Marin or AllState after filing an

insurance claim “pursuant to [Marin’s] rental agreement.” (D.E. 207-6 at 93:5-7).

      3.     Plaintiff, Kelli Borel

      On    May    6,   2019,   Plaintiff,    Kelli   Borel   Reidmiller2,   used   the

www.hotwire.com website to reserve a rental car, under her personal name, from a

Denver, Colorado location for the period of June 10, 2019, through June 14, 2019.

(D.E. 207-7 at 7:18-20, 8:18-9:2, 9:25-10:1; Borel Depo.) After completing the

booking process, Borel received confirmation that her rental car was with Sixt and

prepaid for the rental. (D.E. 207-7 at 9:3-18)



2
 At the time of the original reservation, Plaintiff Kelli Borel had not yet changed
her last name to include the addition of Reidmiller. Throughout this brief, Plaintiff
Kelli Borel Reidmiller will be referred to as “Borel.”

                                         14
      Because Borel travels often and has rented so many cars over the years, she

did not remember all the specifics of this particular rental including whether she was

given any paperwork before she signed for the rental; however, she did recall being

handed paperwork – including “the jacket” – with the keys, and she recognized her

signature on the Face Page Contract shown to her by Sixt at deposition. (D.E. 207-7

at 13:16-16:15, 21:7-23:2, 134-147; Borel Depo. and Ex. 2). Borel waived the

insurance Sixt offered and, instead, provided proof of coverage through her personal

auto insurance. (D.E. 207-7 at 13:23-14:11, 49:19-22).

      Because there was a problem with the initial rental car assigned to Borel, she

had to return to the kiosk to obtain keys for a different rental car. (D.E. 207-7 at 17-

18). While she did not recall whether she had to sign anything new before receiving

the keys to the replacement vehicle, Borel maintained (and produced in discovery

during this case, (D.E. 207-7 at 23-24), the actual “rental jacket” handed to her at

the Kiosk as well as receipts for the originally rented vehicle and the substituted

vehicle, provided to her after having already received the “rental jacket.” (D.E. 207-

7 at 18:4-6; 19:11-13; 24:17-24; 25:9-26:4, 133-151; Borel Depo. and Exs. 1, 2, 3,

and 4). Borel produced a copy of the Rental Jacket during discovery. (Id).

      It was undisputed in the summary judgment papers (D.E. 227) that:

      Plaintiff Borel’s Collection Letter from Sixt dated July 3, 2019, which
      was attached to the Invoice, stated “In accordance with your rental
      agreement, we kindly ask you to settle the outstanding amount
      disclosed in the attached breakdown ...” (D.E. 222-10 at 2).

                                          15
      After the rental vehicle was returned, Sixt sent Borel a collection letter asserting

that she personally owed money for repair costs to the vehicle (D.E. 207-7 at 56:9-

58:25, 163-176; Borel Depo. and Ex. 9) “pursuant to the rental agreement.” (D.E. 222-

10 at 2) Borel facilitated payment to Sixt of $523.75 to satisfy the damage claim

against her, which payment was submitted by Borel’s employer. (D.E. 207-7 at 77:25-

78:9; 89:25-90:6). Sixt accepted the payment and closed the damages file associated

to Borel. (D.E. 207-7 at 89:25-90:6). Sixt did not return the payment made on Borel’s

behalf after it asserted that the T&C were not incorporated by reference.

D.    The Trial Court’s Order

      Despite the fact that Sixt uses its T&C to contract with thousands of consumers

every day, Sixt filed a motion for summary judgment arguing that its own T&C were

not incorporated by reference. In support of this position, Sixt cited to deposition

testimony from the Plaintiffs stating that they did not recall receiving a paper copy of

the T&C before signing the Face Page. (D.E. 206 at 13-16). Because the T&C were

not incorporated, Sixt argued that it could not be held liable for breaching those terms

when it billed Plaintiffs for repair costs. (D.E. 206 at 17; MSJ).

      Despite the fact that Plaintiffs were not contesting the incorporation of Sixt’s

T&C, the district court agreed with Sixt and found that “it is mostly undisputed that

Plaintiffs were not shown or told how to access the Terms and Conditions before

they signed the signature pad, and that the only disputed points concern testimony



                                           16
where Plaintiffs could not recall whether they were shown the Terms and Conditions

prior to signing.” (D.E. 233 at 4-5; Order) (emphasis added). Regardless of evidence

that the T&C were available at the rental counter, the district court determined that

“Plaintiffs cite no record evidence that could support the inference that Plaintiffs

were shown the Terms and Conditions before signing. Therefore, it is undisputed

that Defendant Sixt departed from its routine procedure with regard to Plaintiffs’

rental because it failed to show Plaintiffs the Terms and Conditions or tell Plaintiffs

how to access them before signing” (Id. at 5). As a result, the Court granted

judgment for Sixt on Plaintiffs’ breach of contract claim for imposing repair costs in

violation of its own T&C. (Id. at 15).

      Additionally, Sixt argued that judgment should be granted in its favor on

Plaintiff’s FDUTPA claim because Calderon made no payment other than through

the Partial Damage Waiver and because the repair cost payment for Marin and Borel

were paid by insurance or their employers. (D.E. 206 at 19-22; MSJ). The district

court again agreed and found that payments by these collateral sources were

insufficient to constitute actual damages as required. (D.E. at 233 at 14-15; Order).

Summary judgment was granted in favor of Sixt on Plaintiffs FDUTPA claim as

well. (Id).




                                          17
      After final judgment was entered, Plaintiffs filed this timely appeal

challenging the district court’s findings on incorporation by reference of the T&C

and on damages paid by collateral sources.

                            STANDARD OF REVIEW

      A district court’s decision on summary judgment is reviewed de novo and this

Court applies the same legal standard used by the district court, drawing all

inferences in the light most favorable to the non-moving party and recognizing that

summary judgment is appropriate only where there are no genuine issues of material

fact. Smith v. Owens, 848 F.3d 975, 978 (11th Cir. 2017).

      “An issue of fact is ‘material’ if, under the applicable substantive law, it might

affect the outcome of the case.” Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256,

1259–60 (11th Cir. 2004). “An issue of fact is ‘genuine’ if the record taken as a

whole could lead a rational trier of fact to find for the nonmoving party.” Id. at 1260.

All the evidence and factual inferences reasonably drawn from the evidence must be

viewed in the light most favorable to the nonmoving party. Adickes v. S.H. Kress &

Co., 398 U.S. 144, 157, 90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970); Jackson v. BellSouth

Telecomms., 372 F.3d 1250, 1280 (11th Cir. 2004). The Court should not weigh the

evidence or make findings of fact. Anderson, 477 U.S. at 249, 106 S. Ct. 2505;

Morrison v. Amway Corp., 323 F.3d 920, 924 (11th Cir. 2003). Rather, the Court’s

role is limited to deciding whether there is sufficient evidence upon which a

reasonable jury could find for the non-moving party. Id.

                                          18
                       SUMMARY OF THE ARGUMENT

      The district court committed reversible error in determining that Sixt’s T&C

were not incorporated by reference for three reasons. First, a paper copy of the T&C

was provided to Plaintiff Borel contrary to the conclusion reached by the district

court. (D.E. 207-7 at 24:2-24; Borel Depo.).

      Second, the district court failed to properly evaluate the intent of the parties

to be bound by the T&C as expressed though contractual language and conduct of

the parties. “In order to form a binding contract there must be a common or mutual

intention of the parties to be bound.” State v. Family Bank of Hallandale, 623 So.2d

474, 479–80 (Fla. 1993). In contractual settings, Colorado courts “can look to the

circumstances surrounding the contract’s formation in construing the contract, in

order to carry out the intent of the contracting parties.” Lane v. Urgitus, 145 P.3d

672, 679 (Colo. 2006) (citing Lazy Dog Ranch v. Telluray Ranch Corp., 965 P.2d

1229, 1235 (Colo. 1998). “In ascertaining the parties’ intent [to incorporate a

document by reference], the court will look to the plain meaning of the words as

viewed in the context of the contract as a whole.” United Cal. Bank v. Prudential

Ins. Co. of Am., 681 P.2d 390, 411, 140 Ariz. 238, 259 (Ariz. App. Div. 1, 1983).

      Third, as long as access to the document to be incorporated was readily

available, a physical copy need not be provided for a valid incorporation by reference

to occur under the law of the three states at issue. Under Florida law, the collateral



                                         19
document to be incorporated need only be “sufficiently described or referred to in

the incorporating agreement, so that the intent of the parties may be ascertained.”

BGT Group, Inc. v. Tradewinds Engine Services, LLC, 62 So. 3d 1192, 1194 (Fla.

4th DCA 2011)(internal citations omitted). Arizona law does not require that a

contracting party “see the incorporated document if the document is easily

available.” Edwards v. Vemma Nutrition, 2018 WL 637382, at *3 (D. Ariz. Jan. 30,

2018) (citing Weatherguard Roofing Co. v. D.R. Ward Constr. Co., 152 P.3d 1227,

1230 (Ariz. Ct. App. 2007)). See also, Vernon v. Qwest Commc’ns Int’l., Inc., 857

F. Supp. 2d 1135, 1150 (D. Colo. 2012)(holding customers to a “Subscriber

agreement” only available on defendant’s website). Accordingly, it was error for

the district court to find that the T&C were not incorporated by reference because a

physical copy was not provided, when the evidence showed that they were available

in each Sixt rental location.

      The district court also committed reversible error in determining that Plaintiffs

suffered no damages because the payments to Sixt were made by third-parties. The

district court’s finding was contrary to the well-established principle that money paid

by a collateral source does not preclude a finding of damages or diminish the liability

of a tortfeaser. See Higgs v. Costa Crociere S.P.A. Company, 969 F.3d 1295, 1310

(11th Cir. 2020); see also Janes v. Baptist Hosp. of Miami, Inc., 349 So. 2d 672, 673

(Fla. 3d DCA 1977).



                                          20
                                  ARGUMENT

I.    Whether the District Court Erred in Finding that Sixt’s Terms and
      Conditions Could Not Be Enforced Against Sixt

      Sixt billed Calderon, Marin, and Borel for the cost of alleged repairs to their

rental vehicles under Section 5 of the T&C, and accepted payments for those repairs.

(D.E. 207-6 at 204-206; Marin Depo. Ex. 15, 16, 18). Plaintiffs sued Sixt for breach

of contract because Sixt’s repair charges were not imposed in accordance with its

own T&C. (D.E. 151 at 22-24; SAC). Sixt sought summary judgment arguing that

its T&C were not incorporated by reference. Sixt relied upon evidence that Plaintiffs

did not recall receiving a copy of the T&C which precluded incorporation.

      The trial court agreed and found that the T&C were not incorporated by

reference because the Plaintiffs did not recall receiving a copy when they picked up

the vehicle. Therefore, the court found that Sixt did not breach its contract. (D.E.

233 at 4; Summary Judgment Order). In reaching this conclusion, the district court

focused almost exclusively on whether each Plaintiff recalled receiving a physical

copy of the T&C when they picked up the vehicle. “Calderon testified he did not

recall being shown or given “any paperwork” before he signed the rental contract.”

(D.E. 233 at 6); “Marin further testified he was no shown or handed any papers

before signing.” (D.E. 233 at 7); and Borel – “Plaintiffs cannot prove Borel had

knowledge of, let alone assented to, the Terms and Conditions because there is

simply no record evidence that could support an inference that she received or had

                                         21
access to the Terms and Conditions before signing.” (D.E. 233 at 7). There are

several reasons why the district court erred in reaching this conclusion.

      A.     Borel Received a Copy of the Rental Jacket

      First, the district court’s determination that there is “no record evidence” that

Borel “received or had access to” the T&C is simply incorrect. While Borel indeed

testified at deposition that she did not specifically recall being shown the terms of

the Rental Jacket, as reference by the district court (D.E. 233 at 7; Summary

Judgment Order), she later testified that she produced a paper copy of the rental

jacket in discovery and that the document must have been provided to her “at the

rental counter.” (D.E. 207-7 at 24:2-24). This alone is reason enough to reverse the

district court’s order regarding the T&C not being incorporated by reference in

Borel’s transaction with Sixt because it clearly contradicts the Court’s determination

that she did not receive a copy of the T&C.

      B.     The District Court Failed to Consider the Intent of the Parties

      The district court misapplied the law of the states where the transactions

occurred, Florida, Arizona and Colorado. (D.E. 233 at 5-8; Summary Judgment

Order). Each of these states require a court to examine the intent of the parties when

determining incorporation by reference. “In order to form a binding contract there

must be a common or mutual intention of the parties to be bound.” State v. Family

Bank of Hallandale, 623 So.2d 474, 479–80 (Fla. 1993). In contractual settings,



                                         22
Colorado courts “can look to the circumstances surrounding the contract's formation

in construing the contract, in order to carry out the intent of the contracting parties.”

Lane v. Urgitus, 145 P.3d 672, 679 (Colo. 2006) (citing Lazy Dog Ranch v. Telluray

Ranch Corp., 965 P.2d 1229, 1235 (Colo. 1998). “In ascertaining the parties' intent

[to incorporate a document by reference], the court will look to the plain meaning of

the words as viewed in the context of the contract as a whole.” United California

Bank v. Prudential Ins. Co. of America, 681 P.2d 390, 411, 140 Ariz. 238, 259 (Ariz.

App. Div. 1 1983).

      The intention of Sixt should have been determined by the drafting of its

contract and its standard course of dealing. Sixt designed its Rental Agreement to

contain two parts. The “Face Page” which includes the details of each renter’s

specific contract, including the specific vehicle being rented (e.g., black 2022

Mercedes C Class), the daily rental rate for that vehicle, the number of days rented,

the payment method, and prior damage to that rental vehicle. (D.E. 207-7 147-151,

D.E. 222-1 at 4-7; Borel Face Page). Sixt chose to include all other terms of its

contract in its T&C. (D.E. 207-7 at 134-146; Borel Depo. Ex. 2 and D.E. 222-2 at

1-8; Ex. B Opp. to MSJ). This way, the combined agreement contains both the

specific rental terms pertaining to specific individuals (Face Page) with the common

and uniform material terms that apply to all Sixt customers (T&C).




                                           23
          The T&C is several pages long and defines the “Agreement” between the

parties as “the terms and conditions on this page and the provisions found on the

Face Page.” (D.E. 207-7 at 141, D.E. 222 at 3). The T&C also contains the majority

of the material terms of the agreement between Sixt and its customers including:

liability for damage, indemnification of Sixt, repossession of the rental vehicle,

specific legal disclosures required by the state where the vehicle is obtained,

conditions on how the vehicle is to be returned to Sixt, who is responsible for damage

or loss, optional equipment, the terms of Sixt’s “loss damage waiver”, lost keys,

roadside assistance, that the renter is responsible for insuring the vehicle, terms of

breach, how the contract can be modified, jurisdiction, and child safety seats. (D.E.

222 at 2-8; T&C).

          To express the intent of the parties to be bound by the T&C, the Face Page

states:

          By signing below, you agree to the Terms and Conditions printed
          on the rental jacket and to the terms found on this Face Page,
          which together constitute this Agreement. You acknowledge
          that you have been given an opportunity to read this Agreement
          before being asked to sign it, and that all information you have
          provide is true and correct.

(D.E. 207-7 at 151, D.E. 222-1 at 7).

          Not only does Sixt incorporate by reference the T&C into its Face Page, it

also incorporates by reference the Face Page into its T&C:




                                           24
      “Agreement” means the terms and conditions in these Terms and
      Conditions and the provisions found on the Face Page.

(D.E. 222-1 at 3; T&C No. 1).

      Sixt’s T&C were also available on its website, Sixt.com for those customers,

like Calderon, who made a reservation via Sixt.com. (D.E. 222-5 at 13-19). And,

Sixt explained in its Request for Admission response, that customers using third-

party reservation websites such as “Expedia, Orbitz Hotwire and others,” were

required to assent to the same “Terms and Conditions” (D.E. 222-5 at 13-19). Sixt

also stated that its normal business practice was to have paper copies of its T&C

available at each Sixt location:

      [D]uring the time period relevant to this action, it has been Sixt’s
      practice and procedure to have copies of the Terms and Conditions
      Rental Jacket available for each customer’s review at the rental kiosk
      and to provide each customer with a copy of the Terms and Conditions
      Rental Jacket before they leave the rental kiosk.

(D.E. 222-5 at 14-15).

      Thus, the language used in the Face Page and the T&C themselves, its

publication of the T&C on its website, and the provision of paper copies at each

location clearly shows that Sixt intended to be bound, and it intended for its

customers to be bound, by the T&C. The district court failed to address why the

language above used by Sixt was unclear. After all, only Sixt challenged the

enforceability of the T&C. None of the Plaintiffs challenged the incorporation of

the T&C.

                                       25
      Furthermore, the district court failed to properly analyze the conduct of the

parties after the rental vehicles were returned as additional evidence of a mutual

intent to be bound by the T&C. That is the law of all states at issue. “Generally

speaking, the practical interpretation of a contract by the parties to it for any

considerable period of time before it comes to be the subject of controversy is

deemed of great, if not controlling, influence.” Old Colony Trust Co. v. City of

Omaha, 230 U.S. 100, 118, 33 S. Ct. 967, 57 L. Ed. 1410 (1913). “[A] Court may

review the original contracting parties' post-contract course of performance of the

agreement to interpret their intent.” Hirsch v. Jupiter Golf Club LLC, 232 F. Supp.

3d 1243, 1252 (S.D. Fla. 2017)(citing Treasure Salvors, Inc. v. Unidentified,

Wrecked & Abandoned Sailing Vessel, 556 F. Supp. 1319, 1336 (S.D. Fla.

1983)(citing Restatement (Second) of Contracts (1981) § 202(4), which provides

“[w]here an agreement involves repeated occasions for performance by either party

with knowledge of the nature of the performance and opportunity for objection to it

by the other, any course of performance accepted or acquiesced in without objection

is given great weight in the interpretation of the agreement”). “The long history of

the parties’ conduct under the contracts is relevant, and the court properly

considered it.” Great Western Sugar Co. v. Northern Natural Gas Co., 661 P.2d 684,

691 (Colo. App. 1982). In determining the parties’ intent to contract, the Court “may

consider surrounding circumstances and the conduct of the parties.” Tabler v.



                                         26
Industrial Com'n of Arizona, 47 P.3d 1156, 1159–60, 202 Ariz. 518, 521–22 (Ariz.

App. Div. 1, 2002)(citing Burkett v. Morales, 128 Ariz. 417, 418, 626 P.2d 147, 148

(App. 1981) (citing 3 Corbin on Contracts, § 577)).

      Here, the conduct of both Sixt and Plaintiffs after the rental was complete

shows a unanimous intent to be bound. Initially, Sixt offered, and Calderon

purchased a “Partial Damage Waiver” which is shown on Calderon’s Face Page at a

price of $29.97. (D.E. 207-4 at 156:2-14; Calderon Depo.). The Partial Damage

Waiver is defined in the T&C and is designed to cover a portion of the customer’s

liability should the rental vehicle be damaged. (D.E. 222-5 at 4-6; T&C No. 6). The

fact that Calderon purchased this product is evidence that he believed that he was

personally liable for damage to the rental vehicle while in his possession. The fact

that Sixt accepted payment from Calderon for Partial Damage Waiver shows that

Sixt also believed that the T&C applied to its contract with Calderon. Without the

T&C, Calderon had no risk to insure against, and the Partial Damage Waiver was

worthless.

      The district court also ignored Sixt’s collection letters to Plaintiffs seeking

payment pursuant to the “rental agreement” for repairing alleged damage to rental

vehicles. (D.E. 222-8 at 2-3, D.E. 222-9 at 2, D.E. 222-10 at 2; letters sent to

Plaintiffs). Because the only contract that includes a provision making the customer

liable for damage to the rental vehicle is the T&C, these letters are evidence that Sixt



                                          27
intended the T&C to be binding on both it and all three Plaintiffs. (D.E. 222-2 at 4;

T&C No. 5).

       The district court also ignored the evidence of damage payments made and

accepted by the parties. Sixt accepted payments for alleged repairs on the Borel and

Marin vehicles. (D.E. 207-6 at 55:2-60:8; D.E. 207-7 at 89:13-90:17). Specifically,

Sixt accepted Marin’s partial payment from his personal insurance company,

AllState, before dunning him for the remainder. (D.E. 207-6 at 204-211, Marin

Depo. Ex. 15-19). Sixt likewise accepted payment for the alleged damage to Borel’s

rental vehicle. (D.E. 207-7 at 89:13-90:17; Borel Depo.). The payment of these

amounts by Marin and Borel shows that they believed they were bound by the T&C.

Acceptance of these payments by Sixt shows that it believed it was bound by the

T&C.

       Finally, even after filing its motion for summary judgment, Sixt continues to

retain all payments made by Plaintiffs, or made on Plaintiff’s behalf, despite

allegedly having no contractual right to such payments. This conduct also shows

Sixt’s intent to be bound by the T&C.

       Thus, there was substantial evidence presented to the district court that Sixt

and all three Plaintiffs intended to be bound, and believed they were bound, by the

Sixt T&C. Instead of viewing this evidence in the light most favorable to Plaintiffs,

the district court ignored all evidence of the parties’ intent, focusing instead on



                                         28
whether each Plaintiff recalled receiving a paper copy. This was clear error because

genuine issues of material fact existed on whether Sixt was bound by its own T&C.

      C.     Access to the Incorporated Document Is All that Is Required

      In addition, the district court improperly determined that a physical copy must

have been provided to each Plaintiffs for the document to be incorporated. (D.E.

233 at 5). Simply put, a physical copy is not required if the incorporated document

is reasonably identified and accessible. This is the law in each of the states at issue.

      Under Florida law, the collateral document to be incorporated only must be

“sufficiently described or referred to in the incorporating agreement, so that the

intent of the parties may be ascertained.” BGT Group, Inc. v. Tradewinds Engine

Services, LLC, 62 So.3d 1192, 1194 (Fla. 4th DCA 2011)(internal citations omitted).

Likewise, Arizona law does not require that a contracting party “see the incorporated

document if the document is easily available.” Edwards v. Vemma Nutrition, 2018

WL 637382, at *3 (D. Ariz. Jan. 30, 2018) (citing Weatherguard Roofing Co. v. D.R.

Ward Constr. Co., 152 P.3d 1227, 1230 (Ariz. Ct. App. 2007)).

      Although Borel did receive a paper copy of her Rental Jacket (D.E. 207-7 at

24:2-25:1; Borel Depo.), one was not required in Colorado. Colorado law holds that

“where a party seeks to enforce terms or conditions incorporated by reference in a

contract, it must be clear that the parties to the agreement had knowledge of and

assented to the incorporated terms.” Vernon v. Qwest Commc’s Int’l., Inc., 857 F.



                                          29
Supp. 2d 1135, 1150 (D. Colo. 2012)(holding customers to a “Subscriber

agreement” only available on defendant’s website). “Evidence of assent may be

gleaned from the totality of the circumstances”, rather than proof of a physical copy.

Id.3

       Here, Sixt’s interrogatory responses created an undisputed fact that Sixt

customers had several ways to access its T&C. (D.E. 222-6 at 117-125). Most

important to this appeal is the undisputed fact that all customers had access to a paper

copy of the T&C when they picked up the vehicle:

       [D]uring the time period relevant to this action, it has been Sixt’s
       practice and procedure to have copies of the Terms and Conditions
       Rental Jacket available for each customer’s review at the rental kiosk
       and to provide each customer with a copy of the Terms and Conditions
       Rental Jacket before they leave the rental kiosk.

(D.E. 222-6 at 19).

       Once the Face Page identified the T&C by name and explained that those

terms were “printed on the rental jacket,” the incorporated document was called to

the attention of the Sixt customers. Thereafter, having copies of the T&C Rental

Jacket readily available at the Sixt pick-up location is all that is legally required for

the T&C to be incorporated by reference under Florida, Arizona or Colorado law.




3
  Because Borel proved that she actually did receive a physical copy of the Sixt
Rental Jacket, she need not prove more. (D.E. 207-7 at 24:17-24; 25:9-26:4; Borel
Depo.).

                                           30
The fact that Plaintiffs do not remember actually receiving a paper copy does not

mean, as a matter of law, that they did not have access to the document.

      Sixt does business with thousands of customers each day and has a normal

course of dealing and expects all of its customers to be bound by the T&C. Yet it seeks

to avoid the T&C when sued for breaching those same contract terms. The district

court should not have “weigh[ed] the evidence or ma[de] findings of fact” in this

regard. Anderson, 477 U.S. at 249, 106 S. Ct. at 2505. Instead of viewing this

contradictory evidence in the light most favorable to Plaintiffs, the district court

viewed it in the light most favorable to Sixt by finding that the plaintiffs’ lack of

memory made it “undisputed that Defendant Sixt departed from its routine procedure

with regard to Plaintiffs’ rentals…” (D.E. 233 at 5; Summary Judgment Order). A

lack of memory does not create an undisputed fact. One may not recall what they ate

for dinner on a Tuesday night six months prior, but that does not create an undisputed

fact that one did not eat dinner that night. By holding that Plaintiffs’ lack of memory

trumps Sixt’s routine practices as a matter of law, the district court failed to weigh the

evidence in the light “most favorable to the non-moving party” as it was required to

do. Jackson v. BellSouth Telecomms., 372 F.3d 1250, 1280 (11th Cir. 2004).

      Accordingly, the district court’s determination that the Sixt T&C were not

incorporated by reference should be reversed as contrary to the legal precedent cited

herein and due to the intent of the parties as shown by the evidence presented.



                                           31
II.   Whether the District Court Erred in Finding That Plaintiffs Did Not
      Suffer Actual Damages

      A.     Plaintiffs Borel and Marin’s Damages

      Sixt admits that it accepted payment for both Marin and Borel’s individual

invoices but argues that each suffered no actual damages because the payments were

made by third parties on their behalf. (D.E. 206 at 21-22; Motion for Summary

Judgment). Thus, it argued that Plaintiffs’ breach of contract and FDUTPA claims

failed as a matter of law.

      In response, Plaintiffs argued that it is legally irrelevant whether the invoices

were paid by Borel’s employer or Marin’s insurance company because Plaintiffs

were individually obligated under the terms of the agreements with Sixt – not the

third party payor. See., e.g., U.S. v. American Tobacco Co., 166 U.S. 468, 477-78

(1897) (permitting an indemnified plaintiff to bring suit even if proceeds of the

litigation are passed to its insurer because the “the cause of action rests on the rights

of the [insured party]” and if barred from bringing suit, defendant “would be in the

position of one who retained money to which it had no equitable right.”); Alta Wind

I Owner Lessor C v. United States, 150 Fed. Cl. 152, 168 (Fed. Cl. 2020) (finding

that plaintiff’s prior agreement with a third party as to payment did not preclude

plaintiff ‘ability to bring suit ); Sprint Communications Co., L.P. v. APCC Services,

Inc., 554 U.S. 269, 286 (2008).




                                           32
      However, the district court disagreed and held that Marin and Borel did not

sustain any actual damages because payments were made by third parties. (D.E. 233

at 10-12; Order). The district court’s finding is erroneous and contrary to long

standing precedent that allows a plaintiff to recover damages even when their

obligation was paid by an insurance company or other third party on plaintiff’s

behalf.

      Here, the district court’s order rewards the tortfeasor and is contrary to the

longstanding law on damages as explained by this Court in Higgs v. Costa Crociere

S.P.A. Company:

      In its substantive role, the collateral source rule provides that a plaintiff
      is entitled to recover the full value of the damages caused by a
      tortfeasor, without offset for any amounts received in compensation for
      the injury from a third party (like an insurance company or a family
      member)…

      But the law conceptualizes the collateral source payment as necessarily
      a windfall -- after all, a party other than the victim or the alleged
      tortfeasor has voluntarily chosen to bear the costs of the victim's injury
      -- that is better awarded to the plaintiff than the tortfeasor. Moreover,
      this rule is understood to avoid discouraging plaintiffs from prudently
      paying for insurance by limiting their recoveries, and it deters
      negligence by punishing tortfeasors for the full amount of their
      wrongdoing. Id.

969 F.3d 1295, 1310 (11th Cir. 2020)(emphasis added). The Higgs decision goes

on to explain that “the rule allows a plaintiff to recover damages for a harm for which

she has already been compensated.” Id. at 1310. In practice, the collateral source

rule is “both a substantive principle of damages and an evidentiary rule.” Id.

                                           33
      Florida law has also adopted the collateral source rule and held that:

      the proposition that total or partial compensation received by the
      injured party from a collateral source wholly independent of the
      wrongdoer will not operate to lessen the damages recoverable from the
      person causing the injury. . .

      it is well settled that recovery of damages from a tort feasor may not be
      reduced by the amount of insurance proceeds received by the injured
      party from his insurance company; a wrongdoer should not be
      permitted to benefit from a policy of insurance where there is no privity
      between him and the plaintiff's insurer, and the policy was written for
      the benefit of the insured and not the wrongdoer; if there must be a
      windfall, it is more just that the injured party profit, rather than the
      wrongdoer be relieved of full responsibility for his wrongdoing. The
      value of services rendered the injured party are a proper element of
      damages even though they were paid for by a collateral source.

Janes v. Baptist Hosp. of Miami, Inc., 349 So. 2d 672, 673 (Fla. 3d DCA 1977)

(citations omitted) (emphasis added).

     This doctrine was first enunciated long ago by the Supreme Court in Propeller

Monticello v. Mollison, 58 U.S. 152 (1854), where it explained that a defendant

“cannot avail” himself of the benefit of the plaintiff's insurance “wager." Id. at 155.

The rule’s vitality continued in the United States and has been established in almost

every state, including, Florida, Colorado, and Arizona. See Higgs, 969 F.3d at 1310

(Florida law); Shandong Yongsheng Rubber Co. Ltd., No. 18-cv-00867-, 2020 WL

1974762, at *1-2 (D. Colo. Apr. 24, 2020) (Colorado law, the collateral source rule

bars evidence at trial of payments made by an independent entity or person that

compensates plaintiff for his/her injuries); Taylor v. S. Pac. Transp. Co., 130 Ariz.



                                          34
516, 519-520, 637 P.2d 726, 729-730 (1981) (The “collateral source rule is that a

tortfeasor should not be permitted a windfall simply because the plaintiff might have

contracted for reimbursement through a third party, such as insurance.”). The same

long-standing principle is also explained in the Restatement (Second) of Torts, §

920A(1), cmt b:“[I]t is the position of the law that a benefit that is directed to the

injured party should not be shifted so as to become a windfall for the tortfeasor. If

the plaintiff was himself responsible for the benefit, as by maintaining his own

insurance or by making advantageous employment arrangements, the law allows

him to keep it for himself. If the benefit was a gift to the plaintiff from a third party

or established for him by law, he should not be deprived of the advantage that it

confers.”

     As to Marin, a Sixt collection letter was sent to him individually in connection

with his personal rental from Sixt. (D.E. 222-9 at 2; Marin Letter). Due to Sixt’s

efforts to collect, Marin and Sixt both submitted claims to Marin’s insurance

provider Allstate, which resulted in a payment to Sixt for Marin’s invoice in the

amount of $519.00. (D.E. 207-6 at 51:19-59:4, 204-205, 209). The important fact

that Marin’s claim was also paid by his insurance is ignored by the district court.

Not only did Marin’s insurance pay Sixt, but Marin’s business paid the $189.62

balance owed on his business credit card. (D.E. 207-6 at 59:11-60:8). Sixt retained




                                           35
the amount of money paid in connection with Marin’s invoice despite its assertion

that there is not contract. (D.E. 207-6 at 93:5-7).

     Similarly, Borel received a collection letter from Sixt in her individual capacity

for money she owed as a result of the vehicle she personally rented. (D.E. 207-7 at

56:9-58:25, 163-176; Borel Depo. and Ex. 9). The invoiced amount of $523.75 was

paid by her employer and accepted by Sixt. (D.E. 207-7 at 77:25-78:9; 89:25-90:6).

Sixt accepted the payment and closed her damages file. (D.E. 207-7 at 89:25-90:6).

     Plaintiffs’ payment arrangements with these third-party payors fall squarely

within the collateral source doctrine which prevents the tortfeasor (Sixt) from

retaining the payments made on Borel and Marin’s invoices. It is simply irrelevant

for purposes of establishing damages that a third party payor ultimately paid for

charges pursuant to a contract between Sixt and Plaintiffs and that Plaintiffs had their

own arrangement for payment by another third party. This does not resolve or reduce

Sixt’s liability. See Reed v. Royal Caribbean Cruises, Ltd., 2021 WL 1348489, at *8

(S.D. Fla. March 5, 2021) (grating plaintiff’s motion for summary judgment in

connection with defendant’s attempt to offset, reduce or negate the amounts paid by

a collateral source)

     In its order, the district court cites two decisions to support its determination

that Plaintiffs did not sustain actual damages because out of pocket losses as

required. However, each of these opinions are distinguishable for one important



                                          36
reason – no money was retained by the defendant in either case. See Jones v. TT of

Longwood, Inc., No. 6:06-cv-651, 2007 WL 2298020, at *7 (M.D. Fla. Aug. 7, 2007)

(no damages because down payment for car was refunded to plaintiff and no

additional fees were charged by defendant or insurer); Haun v. Don Mealy Imports,

Inc., 285 F. Supp. 2d 1297, 1307 (M.D. Fla. 2003) (plaintiff’s claim for damages are

merely “feelings of disappointment” because plaintiff never paid for the vehicle and

his deposit was refunded.). Contrary to those facts, money was paid and retained by

Sixt from Marin and Borel. If their claims are dismissed, Sixt will reap a windfall

simply because the Plaintiffs were smart enough to make arrangements for others to

pay the costs. This goes directly to the underlying purpose of the collateral source

rule.

        Accordingly, the district court erred in finding that Plaintiffs failed to establish

they incurred actual damages as a result of payments made by collateral sources.

The district court’s order grating summary judgment should be reversed in this

regard.

        B.     Plaintiff Calderon’s Damages

        Sixt argued that its own T&C were not incorporated by reference into

Calderon’s Face Page Contract and the district court agreed. (D.E. 233 at 5-6;

Summary Judgment Order). The court further found that Calderon did not suffer

any actual damages as a result of his $27 payment to Sixt for a product defined as



                                             37
“Partial Damage Waiver” because he received the benefit of the bargain when Sixt

applied the $500 worth of “waiver” towards the damage to his rental vehicle. (D.E.

233 at 12; Summary Judgment Order). But, these findings are inconsistent.

     It is undisputed that Calderon’s responsibility for damage to the vehicle arises

solely out of Sixt’s T&C. (D.E. 151-1 at 2-7; D.E. 207 at 3-4; D.E. 222 at 2). If the

T&C do not apply to Calderon, then he is not contractually liable for damage to the

vehicle. If he is not liable for damage to the vehicle, then there is no reason for him

to purchase the Partial Damage Waiver, which is only purchased to cover such

liability. In other words, if Sixt’s T&C were not incorporated by reference, then

Calderon’s $27 payment for a product that he could never use constitutes actual

damages.     Calderon’s $27 payment to Sixt also constitutes actual damages for

FDUTPA if the district’s court order on incorporation as reference is affirmed.

     In the alternative, if the district court’s order is reversed and the T&C are

binding on Calderon and the other Plaintiffs, Calderon recognize that this damage

theory does not apply.




                                          38
                                 CONCLUSION

      Every day, Sixt contracts with customers using its T&C as set forth in its

Rental Jacket. Every day it bills insurance companies and imposes for charges for

damage caused by rental customers under those same T&C. It does so without ever

asking whether they were shown a copy of the document. It should not be able to

avoid its own contract terms when challenged by arguing that its own procedures

allow it to avoid liability. This is especially true where payment has already been

made. The district court’s summary judgment order must be reversed to avoid an

injustice to Plaintiffs and the thousands of other Sixt customers who have been

unlawfully billed in violation of the Sixt Terms & Conditions.

Dated: January 30, 2023               VARNELL & WARWICK, P.A.

                                      /s/ Brian W. Warwick
                                      Brian W. Warwick; FBN: 0605573
                                      Janet R. Varnell; FBN: 0071072
                                      Matthew T. Peterson, FBN: 1020720
                                      Erika R. Willis, FBN: 100021
                                      1101 E. Cumberland Ave., Ste. 201H, #105
                                      Tampa, FL 33602
                                      Telephone: (352) 753-8600
                                      Facsimile: (352) 504-3301
                                      jvarnell@vandwlaw.com
                                      bwarwick@vandwlaw.com
                                      mpeterson@vandwlaw.com
                                      ewillis@vandwlaw.com
                                      ckoerner@vandwlaw.com

                                      Counsel for Appellants




                                        39
                     CERTIFICATE OF COMPLIANCE

   1. This brief complies with the type-volume limitation of Fed. R. App. P.

      32(a)(7)(B)(i) because:

            this brief contains 9,727 words, excluding those parts of the brief
            exempted by Fed. R. App. P. 32(f).

   2. This brief complies with the typeface requirements of Fed. R. App. P.

      32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because:

            this brief has been prepared in a proportionally spaced typeface using
            Microsoft Office Word in Times New Roman, 14-point.


Dated: January 30, 2023               VARNELL & WARWICK, P.A.

                                      /s/ Brian W. Warwick
                                      Brian W. Warwick; FBN: 0605573
                                      Janet R. Varnell; FBN: 0071072
                                      Matthew T. Peterson, FBN: 1020720
                                      Erika R. Willis, FBN: 100021
                                      1101 E. Cumberland Ave., Ste. 201H, #105
                                      Tampa, FL 33602
                                      Telephone: (352) 753-8600
                                      Facsimile: (352) 504-3301
                                      jvarnell@vandwlaw.com
                                      bwarwick@vandwlaw.com
                                      mpeterson@vandwlaw.com
                                      ewillis@vandwlaw.com
                                      ckoerner@vandwlaw.com

                                      Counsel for Appellants




                                        40
                 CERTIFICATE OF FILING AND SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Eleventh Circuit by using the

appellate CM/ECF system on January 30, 2023.

      I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished using the appellate CM/ECF system.


Dated: January 30, 2023                VARNELL & WARWICK, P.A.

                                       /s/ Brian W. Warwick
                                       Brian W. Warwick; FBN: 0605573
                                       Janet R. Varnell; FBN: 0071072
                                       Matthew T. Peterson, FBN: 1020720
                                       Erika R. Willis, FBN: 100021
                                       1101 E. Cumberland Ave., Ste. 201H, #105
                                       Tampa, FL 33602
                                       Telephone: (352) 753-8600
                                       Facsimile: (352) 504-3301
                                       jvarnell@vandwlaw.com
                                       bwarwick@vandwlaw.com
                                       mpeterson@vandwlaw.com
                                       ewillis@vandwlaw.com
                                       ckoerner@vandwlaw.com

                                       Counsel for Appellants




                                         41
